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                                    UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF IDAHO



In re: FLORES, MARIBEL                                   §         Case No. 18-40535-JMM
                                                         §
                                                         §
                                                         §
                       Debtor(s)


                                   NOTICE OF TRUSTEE’S FINAL REPORT AND
                                     APPLICATIONS FOR COMPENSATION
                                       AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Gary L. Rainsdon,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                                US Bankruptcy Court
                                                   801 E. Sherman
                                                 Pocatello, ID 83201
        Any person wishing to object to any fee application that has not already been approved or to the Final
Report, must file a written objection within 21 days from the mailing of this notice, together with a request for a
hearing and serve a copy of both upon the trustee, any party whose application is being challenged and the
United States Trustee. If no objections are filed, the Court will act on the fee applications and the trustee may
pay dividends pursuant to FRBP 3009 without further order of the Court.



Date Mailed: 11/26/2019                                      By:: /s/ Gary L. Rainsdon
                                                                                     Trustee
Gary L. Rainsdon
P.O. Box 506
Twin Falls, ID 83303
(208) 734-1180




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                                     UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF IDAHO


In re:FLORES, MARIBEL                                       §      Case No. 18-40535-JMM
                                                            §
                                                            §
                                                            §
                       Debtor(s)


                                   SUMMARY OF TRUSTEE’S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION

                 The Final Report shows receipts of :                              $                          7,772.00
                 and approved disbursements of:                                    $                              0.00
                 leaving a balance on hand of1:                                    $                          7,772.00

            Claims of secured creditors will be paid as follows:

  Claim     Claimant            Claim Asserted         Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                      0.00
                                                Remaining balance:                              $                  7,772.00

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - Gary L. Rainsdon                                             1,527.20              0.00         1,527.20
  Trustee, Expenses - Gary L. Rainsdon                                           167.90              0.00           167.90

                  Total to be paid for chapter 7 administrative expenses:                       $                  1,695.10
                  Remaining balance:                                                            $                  6,076.90




          1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

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             Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                   Total             Interim       Proposed
                                                                     Requested         Payments to   Payment
                                                                                       Date

                                                       None

                  Total to be paid for prior chapter administrative expenses:              $                  0.00
                  Remaining balance:                                                       $              6,076.90

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
      creditors.
               Allowed priority claims are:
  Claim      Claimant                             Allowed Amount        Interim Payments                Proposed
  No.                                                    of Claim                 to Date                Payment

                                                       None

                                               Total to be paid for priority claims:       $                  0.00
                                               Remaining balance:                          $              6,076.90

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $18,705.30 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 32.5 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                             Allowed Amount        Interim Payments                Proposed
  No.                                                    of Claim                 to Date                Payment
  1          SFC Central Bankruptcy                        566.24                       0.00                183.96
  2          LVNV Funding, LLC                            6,450.25                      0.00             2,095.53
  3          Quantum3 Group LLC                            317.80                       0.00                103.25
  4          ACTION COLLECTION                            1,245.06                      0.00                404.49
             SERVICE
  5          US Department of Education                   9,632.23                      0.00             3,129.28
  6          STATEWIDE                                     108.36                       0.00                 35.20
             COLLECTIONS, INC.




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  Claim      Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date               Payment
  7          Portfolio Recovery                              385.36                   0.00                    125.19
             Associates, LLC

                     Total to be paid for timely general unsecured claims:               $                6,076.90
                     Remaining balance:                                                  $                    0.00

              Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
      be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
      interest (if applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim      Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date               Payment

                                                        None

                     Total to be paid for tardily filed general unsecured claims:        $                       0.00
                     Remaining balance:                                                  $                       0.00

               Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
      ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
      after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
      dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
      applicable).
               Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
      ordered subordinated by the Court are as follows:

  Claim      Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date               Payment

                                                        None

                                              Total to be paid for subordinated claims: $                        0.00
                                              Remaining balance:                        $                        0.00




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                                               Prepared By: /s/ Gary L. Rainsdon, Trustee
                                                                              Trustee
    Gary L. Rainsdon
    P.O. Box 506
    Twin Falls, ID 83303
    (208) 734-1180




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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